Case 9:23-cr-80101-AMC Document 418 Entered on FLSD Docket 03/25/2024 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 23-80101(s)-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                                    NOTICE OF SUBMISSION

         The United States of America, through its undersigned counsel, hereby gives notice that,

  pursuant to ECF Nos. 320 and 365, it submitted via email today to the Court and counsel for

  defendants a sealed Order entered by the District Court for the District of Columbia transferring

  to this Court, pursuant to Rule 6(e)(3)(G), resolution of public disclosure of certain pleadings and

  other materials arising out of a grand jury matter in the District of Columbia. In addition, the

  Government submitted via email to the Court and defense counsel proposed “red box” redactions

  to Exhibits 15-19 to defendant Trump’s Motion for Relief Relating to the Mar-a-Lago Raid and

  Unlawful Piercing of Attorney-Client Privilege.

                                                Respectfully submitted,

                                                JACK SMITH
                                                Special Counsel


                                        By:     /s/ Jay I. Bratt
                                                Jay I. Bratt
                                                Counselor to the Special Counsel
Case 9:23-cr-80101-AMC Document 418 Entered on FLSD Docket 03/25/2024 Page 2 of 3




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                                        2
Case 9:23-cr-80101-AMC Document 418 Entered on FLSD Docket 03/25/2024 Page 3 of 3




                                  CERTIFICATE OF SERVICE

        I, Jay I. Bratt, certify that on March 25, 2024, I served the foregoing document on all parties

  via CM/ECF.


                                               /s/ Jay I. Bratt__________________
                                               Jay I. Bratt




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